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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                        -X


UNITED STATES OF AMERICA,

                                                               COURT EXHIBIT 3A
                                                               VERDICT SHEET
                                                               15-CR-95(WFK)
DILKHAYOT KASIMOV,

                             Defendant.


                                                         ■X


WE, the jury in the above-captioned case, hereby unanimously render the following verdict:


COUNT ONE: CONSPIRACY TO PROVIDE MATERIAL SUPPORT TO A FOREIGN

TERRORIST ORGANIZATION:

        NOT GUILTY                                            i/   GUILTY




COUNT TWO: ATTEMPT TO PROVIDE MATERIAL SUPPORT TO A FOREIGN

TERRORIST ORGANIZATION:                                            y
        NOT GUILTY                                            ^ GUILTY




THE FOREPERSON MUST SIGN AND DATE THIS VERDICT FORM.

JURY FOREPERSON NUMBER: 7
DATE:
